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12                                   UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                       SAN FRANCISCO DIVISION

15
     UNITED STATES OF AMERICA,                       )   CASE NO. 3:17-CR-103 VC
16                                                   )
                    Plaintiff,                       )   MOTION AND [PROPOSED] ORDER TO SEAL
17                                                   )   UNITED STATES RESPONSE TO DEFENDANT’S
            v.                                       )
18                                                   )   SUPPLEMENTAL SENTENCING SUBMISSION
     KARIM BARATOV,                                  )
19                                                   )   Sentencing Date:     April 24, 2018
                    Defendant.                       )   Time:                10:30 a.m.
20                                                   )   Court:               Honorable Vince Chhabria
21

22          The United States hereby moves the Court for an order sealing the United States Response to
23 Defendant’s Supplemental Sentencing Submission and the accompanying declaration. The United

24 States makes this request for the same reasons asserted by the defendant in requesting that the

25 Defendant’s Supplemental Sentencing Submission be filed under seal.

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     MOTION AND ORDER TO SEAL                                                                             1
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 1             The United States also requests that, notwithstanding any sealing order, the Clerk of Court be

 2 required to give endorsed, filed copies of the sealed documents to the United States Attorney’s Office.

 3 DATED: April 20, 2018                                    Respectfully submitted,

 4                                                          ALEX G. TSE
                                                            Acting United States Attorney
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 6                                                            /s/ Jeffrey Shih
                                                            JEFFREY SHIH
 7                                                          Assistant United States Attorney

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                                                [PROPOSED] ORDER
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               Upon the motion of the United States and for good cause appearing, IT IS HEREBY ORDERED
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     THAT the Clerk of the Court file the United States Response to Defendant’s Supplemental Sentencing
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     Submission and the accompanying declaration under seal and maintain the documents under seal until
16
     further notice of this Court. Endorsed, filed copies shall be provided to the United States Attorney’s
17
     Office.
18

19
     DATE:
20                                                          HONORABLE VINCE CHHABRIA
                                                            UNITED STATES DISTRICT JUDGE
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     MOTION AND ORDER TO SEAL                                                                                   2
